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 4   Email: jflock@tharpe-howell.com
 5   Attorneys for Defendant,
     COSTCO WHOLESALE CORPORATION
 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   DIANA LIZETH AVENDANO, an                 Case No.
     individual,
12
                        Plaintiff,             NOTICE OF REMOVAL OF
13                                             ACTION UNDER 28 U.S.C. § 1441(b)
     v.                                        (DIVERSITY)
14
   COSTCO WHOLESALE
15 CORPORATION, a Washington
   corporation; SCOTT MANLY, an
16 individual; STEPHANIE ANDA, an
   individual; JOSUE CACERES, an
17 individual; KEVIN CLARKE, an
   individual; and DOES 1 through 50,
18 inclusive,
                     Defendants.
19

20         TO THE CLERK OF THE ABOVE-ENTILTED COURT:
21         PLEASE TAKE NOTICE THAT Defendant, Costco Wholesale Corporation
22   (“Defendant”) hereby removes this action from the Superior Court of the State of
23   California, County of Los Angeles to the United States District Court for the
24   Central District of California – Western Division pursuant to 28 U.S.C. §§ 1332, 1441
25   and 1446 and sets forth in support of its Notice of Removal of Action the following:
26   ///
27   ///
28   ///
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31               NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B))
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                                        1         Complete Diversity Exists
                                        2         1.      This Notice of Removal is based in part, upon 28 U.S.C. § 1441(a) that
                                        3   states: “any civil action brought in a State court of which the district courts of the
                                        4   United States have original jurisdiction, may be removed by the defendant or the
                                        5   defendants, to the district court of the United States for the district and division
                                        6   embracing the place where such action is pending.”
                                        7         2.      District courts have original have original jurisdiction of all civil actions
                                        8   where the matter in controversy exceeds the sum or value of $75,000.00, exclusive of
                                        9   interest and costs, and is between citizens of different States. 28 U.S.C. § 1332(a)(1).
                                       10         3.      Plaintiff, Diana Lizeth Avendano is a citizen of the state of California.
15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221




                                       11         4.      Defendant, Costco Wholesale Corporation was, at the time of the filing
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                                       12   of this action, and still is, a citizen of the state of Washington. Defendant is a
                                       13   Washington corporation with its headquarters and principal place of business in
                                       14   Washington.
                                       15         6.      Defendants, Scott Manly, Stephanie Anda, Josue Caceres and Kevin
                                       16   Clarke have not been served or appeared in this action. Those named as defendants,
                                       17   but not yet served in the state court action need not join the notice of removal.
                                       18   Northern Ill. Gas Co. v. Airco Industrial Gases (7th Cir. 1982) 676 F.2d 270, 272;
                                       19   Destfino v. Reiswig (9th Cir. 2011) 630 F.3d 952, 955 (codefendants not properly
                                       20   served need to join.)
                                       21         7.      Thus, a defendant who has been served or who has otherwise acquired
                                       22   notice of a state court action need to seek out and notify codefendants who have not
                                       23   yet been served to ask them to join in the removal. See Gossmeyer v. McDonald (7th
                                       24   Cir. 1997) 128 F.3d 481. 489.
                                       25         8.      Moreover, defendants, Scott Manly, Stephanie Anda, Josue Caceres and
                                       26   Kevin Clarke appear to have been named to create a fraudulent joinder. Joinder in the
                                       27   notice of removal is not required by persons named as defendants solely to prevent
                                       28   removal. Chambers v. HSBC Bank USA, N.A. (6th Cir. 2015) 796 F.3d 560, 564-
                                       30
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                                        1   565; Farias v. Bexar County Bd. of Trustees for Mental Health Mental Retardation
                                        2   Services (5th Cir. 1991) 925 F.2d 866, 871.
                                        3          9.     Notably, in Plaintiff’s responses to discovery, Scott Manly, Stephanie
                                        4   Anda, Josue Caceres and Kevin Clarke are neither identified as having participated in
                                        5   the underlying events nor being present when the incident happened.
                                        6          10.    Therefore, diversity of citizenship exists for purposes of removal of the
                                        7   state court action to this district court.
                                        8          Amount in Controversy Exceeds $75,000
                                        9          11.    Plaintiff’s Complaint alleges two causes of action for negligence and
                                       10   premises liability against Defendant. (See Plaintiff’s Complaint, Case No.
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                                       11   20STCV48648, Superior Court of California, County of Los Angeles, page 1, attached
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                                       12   as Exhibit A.)
                                       13          12.    On April 15, 2019, Plaintiff alleges that she was injured when she was
                                       14   collided into by shopping carts pulled by an employee on the subject premises while
                                       15   visiting Defendant’s store located at 12324 Hoxie Avenue, Norwalk, California and
                                       16   sustained personal injuries. Plaintiff alleges that Defendant negligently and carelessly
                                       17   owned, operated, maintained, serviced, and controlled the premises. (See Plaintiff’s
                                       18   Complaint, Case No. 20STCV46648, Superior Court of California, County of Los
                                       19   Angeles, page 3, attached as Exhibit A.)
                                       20          13.    Plaintiff alleges she sustained injuries to her health, strength, and activity,
                                       21   sustaining injuries to her body and person, including mental pain and suffering. She
                                       22   further claims to have sustained hospital and medical expenses, wage loss,
                                       23   compensatory damages, and general damages. (See Plaintiffs’ Complaint, Case No.
                                       24   20STCV48648, Superior Court of California, County of Los Angeles, page 3, attached
                                       25   as Exhibit A.)
                                       26          14.    On April 15, 2022, Defendant served Form Interrogatories (Set One) on
                                       27   Plaintiff. (See Form Interrogatories, attached as Exhibit B.)
                                       28          15.    On June 21, 2022, Plaintiff served Responses to Form Interrogatories
                                       30
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                                       31                NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
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                                        1   (Set One). (See Response to Form Interrogatories, attached as Exhibit C.)
                                        2          16.     In Response to Form Interrogatory No. 6.4, Plaintiff itemizes her medical
                                        3   billing as follows:
                                        4          Oceanview Medical & Surgical:           $2,000.00
                                        5          Catherine Zarrabi, D.C.:                $4,155.00
                                        6          Expert MRI:                             $7,380.00
                                        7          Biohealth Pain Management               $2,800.00
                                        8          Dr. Reekesh Patel:                      $25,391.00
                                        9          Hawthorn Surgery Center:                $27,282.00
                                       10          Sky Anesthesia, Inc.:                   $4,880.00
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 Sherman Oaks, California 91403-3221




                                       11          Dr. Greg Khounganian, M.D.:             pending
    THARPE & HOWELL, LLP




                                       12          Dr. Fardad Mobin:                       $1,700.00 (additional pending)
                                       13          Total                                   $75,588.00
                                       14   (See Response to Form Interrogatories, attached as Exhibit C.)
                                       15          17.     Plaintiff’s Responses to written discovery put Defendant on notice that
                                       16   the amount in controversy exceeds $75,000.00.
                                       17          18.     Therefore, Plaintiff alleges damages that exceed the minimum amount
                                       18   in controversy requirements for purposes of removal of the state court action to this
                                       19   district court.
                                       20          Notice of Removal Is Timely
                                       21          19.     On June 21, 2022, Plaintiff served Responses to Form Interrogatories
                                       22   (Set One). (See Response to Form Interrogatories, attached as Exhibit C.)
                                       23          20.     The 30-day removal period starts to run only upon defendant's receipt
                                       24   of an “amended pleading, motion, order or other paper from which it may first be
                                       25   ascertained that the case is … removable.” 28 USC § 1446(b)(3). The removal
                                       26   period commences only when defendant is able “to intelligently ascertain” that
                                       27   plaintiff's claim exceeds $75,000 as the result of a voluntary act on plaintiff's part—
                                       28   e.g., sworn answers to interrogatories. Huffman v. Saul Holdings Ltd. Partnership
                                       30
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                                        1   (10th Cir. 1999) 194 F3d 1072, 1078.
                                        2          21.    This Notice of Removal is being filed within thirty (30) days after
                                        3   Defendant received Plaintiff’s Responses to Interrogatories from which it
                                        4   may first be ascertained that the case is removable. 28 U.S.C. § 1446(b).
                                        5          Other Requirements for Removal Are Met
                                        6          22.    Removal of this lawsuit to the United States District Court for the
                                        7   Central District of California, Western Division is proper as the Superior Court of
                                        8   the State of California, County of Los Angeles, where the action was originally
                                        9   filed, is located in this district.
                                       10          23.    Defendant is simultaneously filing a Notice of Removal to Federal
15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221




                                       11   Court with the Superior Court of the State of California, County of Los Angeles, and
    THARPE & HOWELL, LLP




                                       12   it has given notice and served this pleading on Plaintiff. (A true and correct copy of
                                       13   the Notice to State Court of Removal to Federal Court filed with the Superior Court is
                                       14   attached hereto as Exhibit D.)
                                       15          Demand for Jury Trial
                                       16          24.    Separate and apart from removal requirements, counsel for Defendant
                                       17   demands a jury trial.
                                       18

                                       19   Dated: July 7, 2022                                THARPE & HOWELL, LLP
                                       20

                                       21

                                       22
                                                                                        By:
                                       23                                                      JOHN K. FLOCK
                                       24                                                      Attorneys for Defendant,
                                                                                               COSTCO WHOLESALE
                                       25                                                      CORPORATION
                                       26
                                       27

                                       28

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                                       31                 NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
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                                        1                                                 PROOF OF SERVICE
                                        2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                        3   1. At the time of service, I was at least 18 years of age and not a party to this legal
                                               action.
                                        4
                                            2. My business address is 15250 Ventura Boulevard, Ninth Floor, Sherman Oaks,
                                        5      CA 91403.
                                        6   3. I served copies of the following documents (specify the exact title of each
                                               document served):
                                        7
                                                    NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
                                        8                                       (DIVERSITY)
                                        9   4. I served the documents listed above in item 3 on the following persons at the
                                               addresses listed:
                                       10
                                                    Daniel J. Rafii, Esq.                                 Attorneys for Plaintiff,
15250 Ventura Boulevard, Ninth Floor




                                                    Christopher K. Roberts, Esq,                          DIANA LIZETH AVENDANO
 Sherman Oaks, California 91403-3221




                                       11
                                                    Justin Rabi, Esq.
    THARPE & HOWELL, LLP




                                       12           RAFII & ASSOCIATES, P.C.
                                                    9100 Wilshire Boulevard, Suite 465E
                                       13           Beverly Hills, California 90212
                                                    Phone: 310.777.7877
                                       14           Fax: 310.777.7855
                                       15           Emails: daniel@rafiilaw.com
                                                           christopher@ra.fiilaw.com
                                       16                  justin@rafiilaw.com
                                       17   5. a.         X         BY ELECTRONIC TRANSMISSION. By e-mailing the
                                                                    document(s) to the person(s) at the e-mail address(es) listed in item 4
                                       18                           pursuant to prior written consent of the party(ies) served.
                                                                    Fed.R.Civ.P. 5(b)(2)(E) and (F). I caused the documents to be sent on
                                       19                           the date shown below to the e-mail addresses of the persons listed in
                                                                    item 4. No electronic message or other indication that the
                                       20                           transmission was unsuccessful was received within a reasonable time
                                                                    after the transmission.
                                       21
                                            6. I served the documents by the means described in item 5 on (date): See below
                                       22
                                            I declare under penalty of perjury under the laws of the State of California that the
                                       23   foregoing is true and correct.
                                       24
                                              7/7/2022                 Belinda A. Porras
                                       25       DATE                   (TYPE OR PRINT NAME)                   (SIGNATURE OF DECLARANT)
                                       26
                                       27

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